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Tab B
  

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| SCHWARTZ HANNUM PC

Guiding Employers & Educators

November 23, 2021

Via Electronic Mail
Suzanne L. Herold, Esq.
Herold Law Group, LLC
50 Terminal Street
Building 2, Suite 716
Charlestown, MA 02129

Re: Ronald F. Dantowitz v. Dexter Southfield Inc., Carmen Aliber and
Stewart Tucker
U.S.D.C. Docket #20-cv-10540-FDS

Dear Suzie:

I have reviewed Plaintiff's answers to Defendants’ First Set of Interrogatories and found
that Plaintiff's response to Interrogatory No. 4 is not only incomplete, it is inconsistent with the
information you provided to us in your email dated November 22, 2021. As you know, pursuant
to Fed. R. Civ. P. 26(e), Plaintiff has an obligation to supplement interrogatory responses as
additional information becomes available. Please supplement Plaintiff's response to
Interrogatory No. 4.

Moreover, in response to Interrogatory No. 8, Plaintiff asserts that he provided a copy of
his “medical letter” to Ellen Hinman in 2016. It is not clear what Plaintiff is referring to. The
only “medical letter” produced in this litigation is dated January 17, 2018. Please produce a
copy of the document that Plaintiff provided Ms. Hinman in 2016. Failing same, Defendants
will move in limine at trial to exclude any reference to the letter including any communications
with Ms. Hinman.

Please provide the requested information in the next seven (7) days. I look forward to
hearing from you.

Sincerely,

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Cuce t, VAM nn. ~

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Anthony L. DeProspo, Jr.

ce: William E. Hannum IIT

tr Chestnut Street, Andover, Massachusetts 01810 Tei 978.623.0900 FAX 978.623.0908  www.shpclaw.com
